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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Action No. 20-cr-00152-PAB

 UNITED STATES OF AMERICA,

       Plaintiff,
 v.

 1. JAYSON JEFFREY PENN,
 2. MIKELL REEVE FRIES,
 3. SCOTT JAMES BRADY,
 4. ROGER BORN AUSTIN,
 5. TIMOTHY R. MULRENIN,
 6. WILLIAM VINCENT KANTOLA,
 7. JIMMIE LEE LITTLE,
 8. WILLIAM WADE LOVETTE,
 9. GARY BRIAN ROBERTS,
 10. RICKIE PATTERSON BLAKE,

       Defendants.



                GOVERNMENT’S RESPONSE TO DEFENDANTS’ JOINT
                     MOTION FOR ADDITIONAL DISCOVERY

       The Court should deny the defendants’ joint motion for additional discovery,

 which seeks to compel the government to produce unredacted versions of “white

 papers” written by outside counsel for four chicken suppliers arguing why the suppliers

 should not be charged for their participation in the same conspiracy charged in this

 case. The redacted portions of the white papers—comprising attorney arguments,

 previously disclosed factual assertions, and prudential considerations relating to

 prosecutorial discretion—are simply not discoverable under Rule 16. Nor are they

 Brady/Giglio material. Tellingly, counsel for Mr. Fries and Mr. Brady, who possess and
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 have reviewed a fully unredacted version of their employer’s (Claxton’s) white paper

 and therefore are in a position to compare it to the redacted version produced by the

 government, offer no concrete examples of improper redactions. Thus, far from making

 a prima facie showing that the redactions obscure anything exculpatory or otherwise

 material to preparing the defense, the defendants’ motion is grounded in mere

 speculation.

                                      BACKGROUND

        The government is conducting an ongoing investigation in the broiler chicken

 industry which has so far resulted in felony charges against the ten defendants

 captioned above and has many other subjects, both individual and corporate, who

 remain under investigation. As with almost any overt investigation, counsel representing

 the various subjects have sought, from time to time, to persuade the government to

 exercise its prosecutorial discretion in a manner favorable to their respective clients,

 often by making attorney arguments, explaining their views on the facts, or raising

 prudential considerations that, in their opinion, weigh against prosecution. Such

 communications have taken place in person, over the phone, via video conference, and

 in writing, including via advocacy pieces termed as “white papers.” The government has

 so far received white papers from four chicken suppliers (Pilgrim’s, Claxton, Koch, and

 George’s) containing attorney arguments and factual assertions, and addressing the

 “Filip” factors.1


 1
   The Filip factors, also known as the Principles of Federal Prosecution of Business
 Organizations, set forth prudential considerations to guide the government in exercising
 its prosecutorial discretion with respect to corporations. See Justice Manual § 9-28.300.
                                              2
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 doing, the government redacted factual assertions that have already been produced to

 the defendants, attorney arguments, and the Filip-factor analyses. In other words, the

 government did not redact what could be considered new factual assertions but did

 redact factual information already provided and, consistent with the approach taken in

 creating the 87- and 50-page information letters, also redacted attorney arguments and

 prudential considerations (Filip factors).

        Soon thereafter, the defendants requested unredacted versions of the white

 papers based on the speculative assertion that the redacted portions may contain Brady

 and/or Giglio material. They also requested the government’s legal bases for

 withholding the redacted portions of the white papers. Far from “refusing” to provide its

 legal bases, the government provided a reasonable explanation to defense counsel on

 December 28, 2020:

        The government is aware of, has abided by, and will continue to abide by,
        its disclosure obligations under Brady, Giglio, Jencks, Rule 16, and the like.
        Importantly, however, the government’s obligations do not translate into a
        right for defendants to access everything in the prosecution file. United
        States v. Garcia-Martinez, 730 Fed. App’x 665, 677 (10th Cir. 2018). Your
        non-specific speculation that the redacted portions of the white papers “very
        well may contain, inter alia, Brady and/or Giglio materials” is an insufficient
        basis to justify your demand for fully unredacted versions. At best, it is a
        general request governed by the principles enumerated in Pennsylvania v.
        Ritchie, 480 U.S. 39, 59 (1987) (“In the typical case where a defendant
        makes only a general request for exculpatory material under Brady v.
        Maryland, 373 U.S. 83 (1963), it is the State that decides which information
        must be disclosed.”), and more recently set forth in United States v.
        Nacchio, 05-cr-545, 2006 WL 8439750, at *7 (D. Colo. Aug. 28, 2006) (“In
        the face of Defendant’s lack of specificity in his requests, the Government’s
        disclosure decisions control.”) (citing Ritchie, 480 U.S. at 59).

        The defendants were unsatisfied with the government’s explanation and renewed

 their request for the government’s legal bases for the redactions. And again, far from

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 “refusing,” the government responded on January 25, 2021:

        Our legal basis for redacting the white papers is simply that the redacted
        portions are not discoverable under Brady, Giglio, 3500, Rule 16, or any
        other authority, and as such were not produced. While we could have
        produced summary letters disclosing what is at best potentially
        discoverable information contained in the white papers, United States v.
        Garcia-Martinez, 730 Fed. Appx. 665, 677 (10th Cir. 2018) (approving the
        government’s production of summary letters in place of underlying
        documents to satisfy Brady obligations); United States v. Brown, 650 F.3d
        581, 589-91 (5th Cir. 2011) (same), in this instance we made a perfectly
        reasonable and appropriate decision to produce the white papers redacted
        to remove non-discoverable material, United States v. Davis, 971 F.3d 524,
        533-34 (5th Cir. 2020) (holding that there was no Brady or Giglio violation
        where the prosecution produced redacted interview reports to the
        defendant); United States v. Rodriguez, 452 Fed. Appx. 883, 888-89 (11th
        Cir. 2012) (similar); United States v. Stinson, 647 F.3d 1196, 1208 (9th Cir.
        2011) (similar). Either approach adequately satisfies the government’s
        discovery obligations, and we opted for the latter.

 Still unsatisfied, the defendants filed the instant motion.

                                    LEGAL STANDARD

        Rule 16 permits a defendant to make a general request for discovery that triggers

 the government’s duty to turn over “items”—evidence in the form of “books, papers,

 documents, data, photographs, tangible objects, buildings or places”—or “portions of

 any of these items,” Federal Rule of Criminal Procedure 16(a)(1)(E) (emphasis added),

 that are “material to preparing the defense,” Rule 16(a)(1)(E)(i). Such evidence is

 “material” under Rule 16 if it tends to “refute the Government's arguments that the

 defendant committed the crime charged.” United States v. Armstrong, 517 U.S. 456,

 462 (1996). Thus, “[m]ateriality means more than that the evidence in question bears

 some abstract logical relationship to the issues in the case.” United States v. Ross, 511

 F.2d 757, 762 (5th Cir. 1975). Rather, to be material, “[t]here must be some indication


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 that the pretrial disclosure of the disputed evidence would have enabled the defendant

 significantly to alter the quantum of proof in his favor.” Id. at 763.

        If the defendant makes a subsequent Rule 16 request for evidence that the

 government did not disclose, he “bears the burden to make a prima facie showing of

 materiality.” United States v. Simpson, 845 F.3d 1039, 1056 (10th Cir. 2017); see also

 United States v. Lujan, 530 F. Supp. 2d 1224, 1234 (D.N.M. 2008). “[T]he defendant

 must make a specific request for the item together with an explanation of how it will be

 helpful to the defense.” United States v. Jordan, 316 F.3d 1215, 1250 (11th Cir. 2003)

 (internal quotation marks omitted). “Neither a general description of the information

 sought nor conclusory allegations of materiality suffice.” United States v. Mandel, 914

 F.2d 1215, 1219 (9th Cir. 1990). Even if the defendant carries his burden, Rule 16 does

 not require the government to produce “information that is . . . duplicative of other

 materials already produced in discovery.” United States v. Santiago, No. 10-cr-164,

 2015 WL 13215020, at *8 (D. Colo. July 14, 2015).

        The government must also produce exculpatory and impeachment evidence

 under Brady v. Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150

 (1972), that is, evidence favorable to the defendant and material to his guilt or

 punishment, Brady, 373 U.S. at 87. Strictly speaking, however, Brady/Giglio are not

 discovery rules but rather due process requirements. Smith v. Sec. of N.M. Dep’t of

 Corrections, 50 F.3d 801, 822 (10th Cir. 1995). Although both Rule 16 and Brady/Giglio




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 hinge on “materiality,” that word has a different meaning in each respective context.3

 Whereas Rule 16 requires an evaluation of whether an undisclosed item of evidence is

 material to preparing the defense, Brady/Giglio require an evaluation of whether an

 entire body of undisclosed evidence favorable to the defendant is material in that it

 creates a “reasonable probability” of a different result at trial. Kyles v. Whitley, 514 U.S.

 419, 434 (1995) (The government has a “responsibility to gauge the likely net effect of

 all such evidence and make disclosure when the point of ‘reasonable probability’ is

 reached.”).

        Two consequences follow. First, “[t]he mere possibility that an item of

 undisclosed information might have aided the defense, . . . does not establish

 ‘materiality’ in the constitutional sense.” United States v. Agurs, 427 U.S. 97, 109-110

 (1976) (internal citation omitted); see also United States v. Bagley, 473 U.S. 667, 675

 n.7 (1985) (“[A] rule that the prosecutor commits error by any failure to disclose

 evidence favorable to the accused, no matter how insignificant, would impose an

 impossible burden on the prosecutor and would undermine the interest in the finality of

 judgments.”); Smith, 50 F.3d at 823 (“The Constitution, as interpreted in Brady, does not

 require the prosecution to divulge every possible shred of evidence that could

 conceivably benefit the defendant.”); United States v. Espinoza-Romero, No. 14-cr-

 00144-CMA, 2016 WL 11642376, at *2 (D. Colo. Jan. 28, 2016) (explaining that “Brady



 3
   The government recognizes that United States v. Weiss, No. 05-CR-179-B, 2006 WL
 1752373, at *2 (D. Colo. June 21, 2006), held otherwise. However, the decision was
 based on a misreading of the 1974 Advisory Committee Notes, which specifically state
 that Rule 16 does not codify Brady but recognizes that there is some overlap.
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 and its progeny do not require disclosure of all information that might simply be useful to

 a defendant”).

        Second, achieving a different result at trial presupposes that Brady/Giglio

 evidence must be either admissible or capable of leading to the discovery of admissible

 evidence. See Madrid v. Wilson, 590 F.3d 773, 778 (10th Cir. 2014); Banks v.

 Workman, 692 F.3d 1133, 1142 (10th Cir. 2012) (“The nub of the problem is that

 evidence cannot qualify as material without first being admissible or at least ‘reasonably

 likely’ to lead to the discovery of admissible evidence.”).

                                        DISCUSSION

        The defendants’ motion should be denied because the redacted portions of the

 white papers are neither discoverable under Rule 16 nor required to be disclosed under

 Brady/Giglio. White papers—advocacy pieces—are not evidence in the traditional

 sense. To be sure, they may have factual components inserted by lawyers, but they are

 not ordinary-course documents, communications among conspirators, or fruits of a

 crime, etc., and so handling them like typical evidence in criminal discovery is like

 putting a square peg in a round hole. The Federal Rules of Criminal Procedure and the

 Due Process Clause certainly were not written with white papers in mind. Nevertheless,

 as Rule 16 specifically contemplates discovery of “portions” of evidentiary items, Fed. R.

 Crim. P. 16(a)(1)(E), and the government attempted to strike a balance by providing the

 defendants with arguably new factual assertions contained in the white papers and

 redacting portions of the materials to which defendants are not entitled, namely: (1)

 attorney arguments, (2) previously disclosed information, and (3) prudential


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 considerations relating to prosecutorial discretion.

        Each of those categories is discussed below, but it is first worth noting a telling

 omission from the defendants’ brief: counsel for Mr. Fries and Mr. Brady have access to

 the complete, unredacted white paper submitted by Claxton, and yet they offer not a

 single concrete example to demonstrate that the redacted portions are material under

 Rule 16 or Brady/Giglio. The most they offer is that the Claxton white paper “addresses

 each of the incidents in the original Indictment relevant to Claxton (and in turn the other

 defendants implicated in those allegations), relying on specific documents[4] to support

 its argument and analysis that there was no bid rigging or price fixing as alleged by the

 government.” Defs.’ Br. at 6. That describes most any white paper submitted by

 investigative subjects and plainly falls short of the specificity required to establish a

 prima facie case of materiality for purposes of Rule 16. Mandel, 914 F.2d at 1219.

 Likewise, if the Claxton white paper contains any Brady/Giglio material, as the

 defendants speculate about the other white papers, it stands to reason that Mr. Fries

 and Mr. Brady would have mentioned that in the opening line of their brief and filed it

 under restriction as an attachment. But they did not. This is all to say that the

 defendants have created a lot of smoke where there is no fire.




 4
   Bates-numbered documents cited in the white papers have already been produced,
 with the exception of a handful of documents cited in one of the white papers. The
 government has requested those documents and will promptly produce them to the
 defendants once they are received by the government and processed for production, as
 the government continues to do with all documents received on an ongoing basis. Also,
 a few Bates numbers were inadvertently redacted from the white papers. The
 government will provide those to the defendants as well.
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        Attorney Arguments. The government’s redaction of attorney argument in the

 white papers was entirely proper. Rule 16 and Brady/Giglio are concerned with

 evidence. But a fundamental tenet of our adversarial legal system is that “attorney

 argument is not evidence.” Bird v. West Valley City, 831 Fed. App’x 881, 891-92 (10th

 Cir. 2020) (emphasis added). That ends the inquiry.

        Even if they were somehow considered “evidence,” attorney arguments in the

 white papers are not material under Rule 16 as they do not enable the defendants

 “significantly to alter the quantum of proof in [the defendants’] favor.” Ross, 511 F.2d at

 762. In United States v. Rigas, the defendants, accused of defrauding their employer,

 made a Rule 16 request for “Firm documents” that consisted of “memoranda,

 presentations, reports, and issues catalogues” created by two law firms and an

 accounting firm hired by the employer to investigate the defendants’ scheme. 258

 F.Supp.2d 299, 306 (S.D.N.Y. Apr. 21, 2003). The government agreed to produce “any

 documents referred to, cited in, or incorporated in the Firm Documents [and] any

 witness statements,” but not the Firm documents themselves, which contained analyses

 and conclusions of the investigation. Id. In attempting to make their prima facie showing

 of materiality, the defendants argued that “the Firm Documents will save them time in

 sifting through discovery and, as the information contained therein presumably played a

 role in the structure of the government's case, will provide information material to

 preparing their defense.” Id. at 307. The court sided with the government, explaining

 that “[a]lthough they argue strenuously that the Firm Documents are vital to preparing

 their defense, at bottom Defendants attempt to equate ‘material’ with ‘useful’ in order to


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 meet their burden under Rule 16(a)(1)(E)(i).” Id.

        The defendants here have not made a prima facie showing of materiality with

 respect to attorney arguments. They claim that they should be permitted to review

 “arguments derived by these [chicken suppliers] and their counsel that counter the

 government’s legal theory,” Defs.’ Br. at 5, so they can pursue “legal theories” material

 to the case. Id. at 6. As in Rigas, the defendants here are clearly attempting to equate

 “material” with “useful.” It strains credulity for the defendants to suggest that the more

 than two dozen defense lawyers from top-notch law firms listed on the docket,

 supported by an unknown number of lawyers and paralegals working behind the

 scenes, need pre-packaged attorney arguments in order to pursue legal theories.

 Moreover, there is nothing preventing defense counsel from consulting with the very

 lawyers who wrote the white papers at issue. Indeed, the protective order entered by

 the Court in this case contemplates such consultation. See ECF No. 193 ¶ 4 (allowing

 disclosure of protected material to “outside counsel for a defendant’s employer or, in the

 case of Mr. Austin, former employer”).

        Nor are attorney arguments material under Brady/Giglio because the government

 has “no obligation to disclose possible theories of the defense to a defendant.” United

 States v. Comosona, 848 F.2d 1110, 1115 (10th Cir. 1988). The defendants’ contention

 that “a company’s denial of criminal wrongdoing is potentially exculpatory,” Defs.’ Br. at

 6, does not change that. Attorney arguments are also immaterial because either they

 are not admissible or, to the extent attorney arguments are capable of leading to

 admissible evidence, the arguments in the white papers would lead to factual


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 underpinnings the defendants already have (13 million documents, 87- and 50-page

 information letters, interview reports, and the unredacted portions of the white papers

 themselves). Banks, 692 F.3d 1144 (“[I]t's hard to see how the [evidence at issue] would

 have tipped off [the defendant] to any leads of which he was not already aware of.”)

        Previously-Disclosed Information. The government properly redacted factual

 assertions that have been provided to the defendants in some other form, such as the

 13 million documents, 87- and 50-page information letters, and interview reports already

 produced. The defendants therefore cannot make a prima facie showing of materiality

 as to those facts under Rule 16.

        It should go without saying that Rule 16 does not require the government to

 produce “information that is . . . duplicative of other materials already produced in

 discovery.” Santiago, 2015 WL 13215020, at *8. United States v. Loewen illustrates the

 point. No. 13-cr-10200, 2015 WL 134157 (D. Kan. Jan. 9, 2015). There, the defendant

 moved for “disclosure of FBI electronic communications which have been redacted by

 ‘blacking out’ parts of documents.” Id. at *1. In denying the motion, the court explained

 that “materiality must be viewed in the overall context of document disclosure.” Id. at *2.

 In light of the fact that “[l]iterally tens of thousands of documents have been disclosed

 by the government,” coupled with the government’s representation that “most of the

 unredacted [sic, redacted] portions of the documents in question have been disclosed in

 other documents,” the court concluded that “no showing has been made that the

 redacted information, if disclosed, would significantly alter the quantum of proof in

 defendant's favor.” Id.


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        The same result is warranted here. Considering, as the Loewen court did, the

 overall context of disclosure in this case—where the government disclosed

 approximately 13 million documents (which are electronically searchable and

 accompanied by annotated indices), two lengthy disclosure letters, and interview

 reports—the redacted portions of the white papers do not contain information that has

 not yet been disclosed but which is capable of “significantly . . . alter[ing] the quantum of

 proof” in defendants’ favor. Ross, 511 F.2d at 762. In any event, throughout the white

 papers, any Bates numbers identifying the documentary support for factual assertions

 remain unredacted. Therefore, the defendants have the documents that the authors of

 the white papers deemed most relevant and are free to develop leads from those

 documents.

        Brady/Giglio, like Rule 16, also do not require the government to produce

 duplicative evidence. Santiago, 2015 WL 13215020, at *8.

        Prudential Considerations. The government properly redacted from the white

 papers Filip factor analyses, which are prudential considerations meant to guide the

 government in the exercise of its prosecutorial discretion with respect to corporations

 (not individuals), as such analyses are unrelated—except in the most tangential way—

 to the merits of the charges against the defendants.

        The defendants cannot make a prima facie showing of materiality under Rule 16

 for the Filip factor analyses because it is axiomatic that irrelevant evidence (to the

 extent the analyses can be considered “evidence” in the first place) is not material to

 preparing the defense. The irrelevance of the Filip factors to the defendants’ guilt or


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 innocence also renders them immaterial for purposes of Brady/Giglio.

                                   *************************

        The defendants make a few additional arguments that do not fit neatly into the

 above discussion, but merit addressing. First, the legitimacy of the government’s

 decision to redact the white papers is not undermined by its prior decision to share

 arguments in information letters. Defs.’ Br. at 7. To the extent a few attorney arguments

 may have made their way into the information letters, the letters themselves state that

 “there is an abundance of information being produced herein that goes well beyond

 those [discovery] obligations.” To require the government to exceed its discovery

 obligations merely because it has done so previously is unsupported by law. Doing so

 would violate the spirit of Rule 16 and Brady/Giglio, creating perverse incentives for the

 government to guard information more closely in future cases.

        Second, and related, the defendants argue that the government’s failure to

 redact non-discoverable and non-Brady/Giglio evidence from 13 million documents

 undermines the legitimacy of the white paper redactions. Defs.’ Br. at 8. That argument

 fails for the reason stated in the previous paragraph, and further because of its

 absurdity; the government does not have the resources to redact 13 million documents,

 and there is no requirement that it do so.

        Finally, the defendants argue that Pilgrim’s agreement to plead guilty5 after

 submitting a white paper is significant. Defs.’ Br. at 6. Although the exact import of the


 5
  Pilgrim’s Pride Corporation has agreed to plead guilty, and Judge Raymond Moore is
 set to accept or reject the agreement during a change of plea hearing on February 23,
 2021. United States v. Pilgrim’s Pride Corp., No. 1:20-cr-00330-RM.
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 timing is unclear to the government, the thrust of the defendants’ argument seems to be

 that any discrepancies between the Pilgrim’s white paper and the factual basis for the

 guilty plea renders the white paper material. However, the defendants fail to articulate

 why any such discrepancies would be material. In any event, the Tenth Circuit has

 addressed a similar argument and rejected it. See Comosona, 848 F.2d at 1115 (“[The

 defendant’s] theory seems to be that even though none of the statements was

 exculpatory, the discrepancies contained in the statements could have given rise to an

 inference that [someone else] was responsible for [the victim’s] death. We decline to

 extend the scope of the Brady decision so far.”). The Court should reject it here as well.

                                      CONCLUSION

       For the reasons discussed above, Defendants’ motions should be denied in full.


       Respectfully submitted this 8th day of February, 2021.


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